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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF COLORADO

In re:                                               )
                                                     )        Bankr. Case No.: 18-19327-KHT
RAED AMEEN ALNAMER,                                  )
                                                     )        Chapter 7
               Debtor.                               )
                                                     )
                                                     )
AMERICAN EXPRESS NATIONAL BANK,                      )        Adv. Proc. No.: 19-01036-KHT
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )
                                                     )
RAED AMEEN ALNAMER aka                               )
RAED A. ALNAMER,                                     )
                                                     )
               Defendant.                            )
                                                     )

         ORDER APPROVING STIPULATED JUDGMENT IN SETTLEMENT OF
           COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

        AND NOW, upon consideration of the parties’ Stipulated Judgment in Settlement of
Complaint to Determine Dischargeability of Debt in the above-captioned adversary proceeding,
and for good cause shown, it is

         ORDERED that the Stipulated Judgment is hereby APPROVED; and it is further

        ORDERED that Judgment shall enter in favor of Plaintiff, American Express National
Bank, and against the Defendant, Raed Ameen Alnamer aka Raed A. Alnamer, in the principal
sum of $19,325.87, plus attorneys’ fees and costs totaling $1,650.00, for a total of $20,975.87,
and this amount is nondischargeable pursuant to 11 U.S.C. § 523(a)(2)(A); and it is further

       ORDERED that the Defendant can satisfy the Judgment pursuant to the terms and
conditions of the Stipulated Judgment.

                                             BY THE COURT:


Dated: March 29, 2019                        _____________________________________
                                             ________________  ________________
                                             Kimberley H. Tyson
                                             United States Bankruptcy Judge
